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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________

EASTERN PROFIT CORPORATION LIMITED,

                      Plaintiff-Counterclaim Defendant,
                                                                 AMENDED ANSWER
vs.                                                              AND
                                                                 COUNTERCLAIMS
STRATEGIC VISION US, LLC,
                                                                 Case No. 18-cv-2185
                      Defendant-Counterclaim Plaintiff,

vs.

GUO WENGUI a/k/a Miles Kwok,

                      Counterclaim Defendant.

_________________________________________________


              Defendant, Strategic Vision US, LLC (“Strategic Vision”) for its amended

answer and counterclaims to plaintiff, Eastern Profit Corporation Limited’s (“Eastern”)

complaint:

              1.      Lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 1.

              2.      Admits the allegations in paragraph 2, except denies that Strategic

Vision’s principal place of business is located at 7260 West Azure Drive, Suite 140-593,

Las Vegas, Nevada.

              3.      Admits the allegations in paragraph 3.

              4.      Denies the allegations in paragraph 4, except admits that Strategic

Vision participated in discussions with Guo Wengui, a/k/a Miles Guo, a/k/a Miles Kwok
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(“Mr. Guo”) at his home at 781 Fifth Avenue, New York, New York , on matters related to

the subject contract.

              5.        Admits the allegations in paragraph 5.

              6.        In answer to paragraph 6, admits that Eastern and Strategic Vision

entered into a contract executed on January 6, 2018 and dated as of December 29, 2017,

(“Contract”), and refers to the Contract for a true and accurate statement of its terms.

              7.        In answer to paragraph 7, refers to the Contract for a true and accurate

statement of its terms.

              8.        Admits the allegations in paragraph 8.

              9.        Denies the allegations in paragraph 9.

              10.       Denies the allegations in paragraph 10.

              11.       Denies the allegations in paragraph 11.

              12.       Denies the allegations in paragraph 12.

              13.       Denies the allegations in paragraph 13.

              14.       Denies the allegations in paragraph 14.

              15.       Denies the allegations in paragraph 15.

              16.       Denies the allegations in paragraph 16.

              17.       Denies the allegations in paragraph 17, except admits that Strategic

Vision and Mr. Guo mutually agreed that Strategic Vision’s services under the Contract

would be deemed to commence as of January 16.

              18.       Denies the allegations in paragraph 18.

              19.       Denies the allegations in paragraph 19.




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              20.     Denies the allegations in paragraph 20, except admits that upon Mr.

Guo’s unreasonable insistence, Strategic Vision delivered certain raw research and data to

Eastern on January 30, 2018.

              21.     Denies the allegations in paragraph 21.

              22.     Denies the allegations in paragraph 22.

              23.     Denies the allegations in paragraph 23.

              24.     Denies the allegations in paragraph 24, except admits that Strategic

Vision received a letter from Eastern’s law firm purporting to terminate the Agreement.

              25.     Denies the allegations in paragraph 25 insofar as they can be construed

to allege an obligation on the part of Strategic Vision to return funds to Eastern.

              26.     Denies the allegations in paragraph 26.

              27.     In answer to paragraph 27, repeats and realleges the responses in

paragraph 1 through 26 above.

              28.     Admits the allegations in paragraph 28.

              29.     Denies the allegations in paragraph 29.

              30.     Denies the allegations in paragraph 30.

              31.     In answer to paragraph 31, repeats and realleges the responses in

paragraphs 1 through 30 above.

              32.     Denies the allegations in paragraph 32.

              33.     Denies the allegations in paragraph 33.

              34.     Denies the allegations in paragraph 34.

              35.     Denies the allegations in paragraph 35.

              36.     Denies the allegations in paragraph 36.


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              37.     Denies the allegations in paragraph 37, except admits the allegations in

the first sentence of paragraph 37 and denies the remaining allegations therein.



                                      FIRST DEFENSE

              38.     The complaint fails to state a claim upon which relief can be granted.

                                    SECOND DEFENSE

              39.     Relief cannot be accorded the parties of this action in the absence of

ACA Capital Group Limited, which is the party that paid to Strategic Vision the funds that

Eastern alleges to have paid as a deposit pursuant to the contract negotiated with Mr. Guo.

                                     THIRD DEFENSE

              40.     Eastern is estopped from asserting the claim for breach of the Contract

because, as alleged in Strategic Vision’s counterclaims below, it hindered Strategic Vision’s

performance and purported to terminate the Agreement precipitously and without cause.

                                    FOURTH DEFENSE

              41.     Eastern has failed to plead fraud and misrepresentation with

particularity as required by Rule 9 of the Federal Rules of Civil Procedure.

                                    COUNTERCLAIMS

                      Strategic Vision, for its counterclaims against Eastern, alleges upon

information and belief.

                                          PARTIES

              42.     Strategic Vision is organized under the laws of the State of Nevada,

with its principal place of business in Nevada.

              43.     Strategic Vision is a consulting firm that performs research and

analysis in the area of global competitive and political intelligence. It was established in

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2010 by principals who, as the result of decades of work in government and the private

sector, developed vast connections in multiple U.S. presidential administrations, both

houses of the U.S. Congress, the U.S. Department of Defense, the U.S. Department of

Energy, and many other government agencies in the U.S. and elsewhere. Strategic Vision’s

close working network of trusted resources extends to, among other places: Washington,

D.C.; Houston, Texas; Calgary, Canada; London, England; Abu Dhabi, United Arab

Emirates; Sydney, Australia; and Singapore.

              44.    Eastern is organized under the laws of Hong Kong, has a principal

place of business in Hong Kong and engages in business activities in the State of New York

and elsewhere in the United States.

              45.    Eastern’s principal is believed to be counterclaim-defendant Guo

Wengui a/k/a Miles Kwok (“Mr. Guo”), a Chinese national who sought out Strategic

Vision to perform research and analytics on numerous Chinese Nationals whom Mr. Guo

and his undisclosed Chinese associates suspected to be engaged in activities in the United

States and elsewhere that are inconsistent with their standing in the Chinese Communist

Party and/or the laws of the United States. Attached as Exhibit A is an article published on

October 3, 2017 by “The Real Deal - - -New York City Real Estate News” regarding Mr.

Guo and his “anti-communist rhetoric” and activities.

              A.     THE AGREEMENT

              46.    In or about December 2017, Mr. Guo was introduced to Strategic

Vision by one of his associates, Mr. Lianchao Han (“Mr. Lianchao”). Mr. Guo represented

to Strategic Vision that Mr. Lianchao and Ms. Yvette Wang a/k/a/ Yanping Wang (“Ms.

Y”) each had authority to act for and on behalf of Mr. Guo. Mr. Lianchao and Ms. Y also


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served as Mr. Guo’s interpreter, as Mr. Guo lacks a fluent command of the English

language.

              47.     Conversations between Strategic Vision and Mr. Guo concerning the

scope and methods of Strategic Vision’s work were facilitated by Mr. Lianchao and Ms. Y

at Mr. Guo’s home in New York City.

              48.    During several conversations throughout December 2017, Strategic

Vision informed Mr. Guo that (i) Strategic Vision’s effectiveness would depend upon the

quality of direction and information provided by Mr. Guo to Strategic Vision, (ii) Strategic

Vision’s work would be conducted in all respects consistent with the laws of the United

States and it would not act on any requests of Mr. Guo that would require Strategic Vision

to violate U.S. law, (iii) the work contemplated by Mr. Guo would require Strategic to

engage subcontractors in Strategic Vision’s global network of investigative professionals and

analysts, and that organizing that network would take time, (iv) Strategic Vision’s business

processes and global network of investigators and analysts were Strategic Vision’s

proprietary and confidential business information, (v) the time within which results would

be reported to Mr. Guo and the quality of those results could not be assured because of the

claimed sensitive nature of the information sought by Mr. Guo, (vi) the exchange of

information between Strategic Vision and Mr. Guo could only take place in person-to-

person meetings, which would required extensive travel and time, and (vii) Mr. Guo must

not take any action or request any service that would compromise the security of Strategic

Vision’s principals or its independent contractors.

              49.    As discussions between Strategic Vision and Mr. Guo progressed, they

agreed to an initial scope of work and fee schedule. Without identifying any particular


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entity by name, Mr. Guo informed Strategic Vision that he would cause his agreement with

Strategic Vision to be entered into with a corporate entity controlled by him that he would

fund as necessary to pay for Strategic Vision’s services. It was explicitly agreed that such

entity would not be based out of the People’s Republic of China or Hong Kong.

               50.      Upon information and belief, Mr. Guo is the principal of Eastern.

               51.      Upon information and belief, Eastern has little to no assets and is

undercapitalized, and is unable to pay the amounts owed under the Agreement.

               52.      Upon information and belief, Eastern is under the complete dominion

and control of Mr. Guo. Mr. Guo authorized Ms. Y to execute the Agreement on behalf of

Eastern as its agent.

               53.      Upon information and belief, Eastern has failed to abide by corporate

formalities.

               54.      Strategic Vision reasonably and foreseeably relied on Mr. Guo’s

promise in determining to enter the Agreement with Eastern as the counterparty. Strategic

Vision would not have entered into the Agreement but for Mr. Guo’s promise that he would

adequately fund Eastern.

               55.      On January 2, 2018, without notice to Strategic Vision and contrary to

express instructions from Strategic Vision to Mr. Guo, an entity named “ACA Capital

Group Limited” (“ACA”) wired USD $1,000,000 (less wire fees) from Hong Kong to

Strategic Vision’s long established bank account (the “ACA Payment”). Strategic Vision

and Mr. Guo had agreed that Mr. Guo would use third companies, not based in Hong Kong

or China, to send a $1,000,000 deposit prior to initiation of the Agreement. Mr. Guo




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provided no information to Strategic Vision regarding ACA or the nature of its association

with Mr. Guo or Eastern, if any.

              56.     Strategic Vision and Mr. Guo had repeatedly discussed implementing

security measures in advance of wiring money to protect Strategic Vision from harassment

from Communist Chinese authorities. Contrary to those discussions, the ACA Payment

was sent directly from Hong Kong to Strategic Vision, providing Chinese Communists with

a direct electronic payment trail.

              57.     On January 5, 2018, Ms. Y traveled to the home of a principal of

Strategic Vision in the State of Virginia and engaged in discussions concerning the services

sought by Eastern. In that same location on January 6, 2018, Ms. Y, on behalf of Eastern,

executed a certain “Research Agreement” which was also executed at that time by Strategic

Vision (the “Agreement”). A copy of the Agreement is attached as Exhibit B.

              58.     The Agreement includes the following provision:

              Irregular Circumstances. Both parties understand that occasional
              unforeseen challenges may arise that will slow or block comprehensive
              research, and that there may be periods in which information is irregular,
              unavailable, or incomplete. [Strategic Vision] will endeavor to make research
              and reports as complete as possible in a timely scheduled manner.

              B.      STRATEGIC VISION’S PERFORMANCE UNDER THE
                      AGREEMENT

              59.     Strategic Vision performed in all respects as required by the

Agreement.

              60.     Immediately, upon entering into the Agreement, Strategic Vision

commenced its work under the Agreement by, among other activities, recruiting, vetting,

engaging and marshaling the initial efforts of various investigators and analysts in the

United States, Europe and the Middle East, identifying trusted Chinese/English translators

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who are not Chinese nationals and analyzing initial data provided by Mr. Guo, without

compromising or endangering the parties to the Agreement, or their respective principals

and agents.

               61.    As detailed further below, Mr. Guo’s and Eastern’s conflicting

instructions, inaccessible attempted communications and bizarre behaviors created

“irregular circumstances” that hindered and delayed Strategic Vison’s work. Ms. Guo’s

conduct in this regard was intentional.

               62.    To facilitate Strategic Vision’s work, it was incumbent upon Mr. Guo

and Eastern to identify the subjects ( referred to by Eastern in the Agreement as “fish”) of its

desired research and analysis. Despite agreeing that Mr. Guo and Eastern would prioritize

no more than 10 subjects in each phase of Strategic Vison’s work, Mr. Guo provided to

Strategic Vision a list of 92 potential subjects with no prioritization. Mr. Guo and Eastern

then delayed in prioritizing their list of subjects, thus hindering Strategic Vision’s work.

               63.    On January 6, 2018, Eastern delivered to Strategic Vision a flash drive

that purportedly included information necessary to facilitate Strategic Vision’s work under

the Agreement. Using industry best practices, Strategic Vision procured and used a virgin

lap top in an attempt to access the data purportedly included on Eastern’s flash drive. In

doing so, Strategic Vision discovered that Eastern had provided to Strategic Vision an un-

encrypted, unreadable, and electronically contaminated flash drive that contained unusual

and sophisticated malware that attacked recipient computers.

               64.    Strategic Vision took Eastern’s flash drive to a cybersecurity expert

who reported that he had never seen such malware before. The malware originated from

Eastern’s team. Strategic Vision then warned Eastern that its systems had been breached


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and corrupted. Despite repeated requests from Strategic Vision, Eastern failed to explain

why it had delivered to Strategic Vision corrupted and potentially very harmful or malicious

data files.

              65.     During a meeting in New York City on January 8, Ms. Y delivered

another flash drive to Strategic Vision which again purportedly included data necessary to

Strategic Vision’s work under the agreement. A large part of such data (i.e. one of three

flash drives) was also corrupted.

              66.     At the time that the Agreement was negotiated with Mr. Guo,

Strategic Vision and Mr. Guo expressly agreed that they would not meet in person again, to

prevent the Communist Chinese regime from observing their interactions. Mr. Guo and

Eastern, however, repeatedly summoned Strategic Vision’s principals to New York for

meetings and Mr. Guo invited them to future events aboard his yacht in Florida, despite

Strategic Vision’s cautionary warnings.

              67.     Based on information received from Eastern that was used in Strategic

Vision’s investigatory work, Strategic Vision received warnings from computer experts and

authorities in three countries that Eastern’s systems were infiltrated and compromised, that

Eastern’s files compromised Mr. Guo’s identity, and that individual Chinese Communists

had known in advance that they were objects of Eastern’s interest. Some of those

individuals had taken precautions to block research into their activities, and at least one of

them appeared to have laid a trap for Strategic Vision. This alarming breach of Mr. Guo’s

and Eastern’s promise of security put members of Strategic Vision’s team in potential

danger, and caused some to quit.




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               68.    Eastern’s confusing and contradictory instructions regarding the

number and identity of the subjects of Strategic Vision’s work resulted in a list of fifteen

names, contrary to the parties’ agreement that Strategic Vision would work on ten subjects

in each phase of its work. In the preliminary phase of its work in connection with Eastern’s

first identified subjects, Strategic Vision learned that most of the individuals so identified by

Eastern had been designated by the U.S. Department of State under the Obama

administration as “Records Protected” persons, meaning that information concerning their

status and activities was not subject to disclosure under any circumstances. Strategic Vision

learned that attempting to research subjects known to be “Records Protected” could be a

criminal activity, and so alerted Eastern.

               69.    Communications among Eastern and Strategic Vision were hindered

by Mr. Guo’s conflicting instructions. After describing Mr. Lianchao and Ms. Y as trusted

business associates, Mr. Guo shortly thereafter advised Strategic Vision to refrain from

communicating with Mr. Lianchao because he was not trustworthy and to communicate

with Ms. Y., who Mr. Guo oddly advised was a member of the Chinese Communist Party

who also could not be trusted. During negotiations for what became the Agreement, Mr.

Guo once banished Ms. Y from the premises so that Strategic Vision could speak privately

with Mr. Guo, with Mr. Lianchao serving as interpreter. Strategic Vision independently

learned that Ms. Y’s husband and other close family members are Communist Chinese

police or authorities. Given Mr. Guo’s general lack of accessibility, his failure to ensure

trusted channels of communication between Strategic Vision and Eastern hindered Strategic

Vision’s work under the Agreement.




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                70.   Within the first weeks of what was to be a multi-faceted and complex

year-long effort under the Agreement, Strategic Vision verbally reported to Mr. Guo and

Eastern that Strategic Vision could not within the limits of U.S. law obtain the information

sought by Eastern on its initial list of subjects and that Strategic Vision’s work would be

refocused on others on Eastern’s list. As a result, Mr. Guo became enraged and irrationally

insisted that Strategic Vison immediately deliver its work product for his and Eastern’s

review.

                71.   In response to Mr. Guo’s demand, Strategic Vision explained that the

“irregular circumstances” caused by Eastern precluded Strategic Vision from collecting and

analyzing collected data and that the small amount of raw data developed to that point was

not in a comprehensible form that would be of material use to Eastern. In the face of

Eastern’s insistence, however, Strategic Vision hand delivered its raw data to Mr. Guo and

Eastern on January 26, 2018 with the caveat that it would be of no use to Eastern until

Strategic Vision had an opportunity to analyze it and produce a formal report.

                72.   Strategic Vision communicated to Eastern each of the above alleged

irregular circumstances. While Eastern acknowledged the problems, it did nothing to

address them.

                73.   Strategic Vision, Mr. Guo and Eastern had agreed from the beginning

of their conversations and both understood that there would be unforeseen delays and

difficulties in procuring information on the challenging task desired by Mr. Guo and

Eastern. They agreed to work cooperatively when such delays arose. An entire section of

the Agreement memorializes this understanding and agreement. The parties expressly

understood that there could be severe and unforeseen delays, as well as times when no


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information could be discovered or reported at all. Eastern agreed in writing that such

delays were foreseen and that the parties would work through them.

                74.   Eastern surreptitiously and illegally attempted to reverse the ACA

Payment by communicating directly with Strategic Vision’s bank during the time period

when Strategic Vision was rendering services to Eastern and before Eastern was finding

ways to execute Eastern’s project in compliance with U.S. law, Eastern was working behind

Strategic Vision’s back to deprive it of payment for its services.

                                 FIRST COUNTERCLAIM
                         (Breach of Contract--Eastern and Mr. Guo)

                75.   Strategic Vision repeats and realleges paragraphs 1 through 74 above.

                76.   Pursuant to the Agreement, Eastern agreed to pay to Strategic Vision a

fee of $750,000 per month for Strategic Vision’s work while under the Agreement

commencing on January 6, 2018.

                77.   Strategic Vision rendered services to Eastern as required by the

Agreement.

                78.   The Agreement provides that either party may terminate it upon “‘30

days’ written notice.”

                79.   By letter dated February 23, 2018, counsel for Eastern provided notice

of Eastern’s termination of the Agreement “pursuant to the [Agreement’s] ‘Duration’

Section.”

                80.   Consequently, the Agreement was terminated as of March 21, 2018.

At the time of such termination, Eastern was obligated to pay to Strategic Vision the

amount of $1,838,709.75, computed as follows:

       Period              Number of Days               Per Diem                Total

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January 6-31                               25               $24,193.55             $604,838.75
February 1-28                            N/A                     N/A               $750,000.00
March 1-21                                 20               $24,193.55             $483,871.00
                                                                                 $1,838,709.75

                81.   Assuming that the ACA payment was made on Eastern’s behalf, the

amount of $838,709.75 was due and payable from Eastern to Strategic Vision as of March

21, 2018.

                82.   Eastern has breached the Agreement by failing to pay to Strategic

Vision $838,709.75 due upon Eastern’s termination of the Agreement.

                83.   Eastern is under the complete dominion and control of Mr. Guo. Mr.

Guo has exercised control over Eastern to withhold payment to Strategic Vision of the

amounts owed under the Agreement, resulting in an injury to Strategic Vision.

                84.   In addition, Eastern has little to no assets and is undercapitalized, and

is unable to pay the amounts owed under the Agreement.

                85.   Eastern is the alter ego of Mr. Guo. Accordingly, Mr. Guo is liable for

the amounts owed by Eastern under the Agreement.

                86.   Strategic Vision is entitled to judgment against Eastern and Mr. Guo

in the amount of $838,709.75, plus interest at the State of New York’s statutory rate for the

period March 21, 2018 through the date that judgment is filed.

                               SECOND COUNTERCLAIM
                              (Promissory Estoppel--Mr. Guo)

                87.   Strategic Vision repeats and realleges paragraphs 1 through 86 above.

                88.   The Agreement was negotiated entirely between representatives of

Strategic Vision and Mr. Guo personally at Mr. Guo’s home, or his agents at his specific

instruction. During the negotiations, Mr. Guo promised Strategic Vision that he would


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adequately fund Eastern such that it could meet its financial obligations under the

Agreement.

                89.      Strategic Vision reasonably and foreseeably relied on Mr. Guo’s

promise in determining to enter the Agreement with Eastern as the counterparty. In

performing under the Agreement, Strategic Vision provided unique services and incurred

significant expenses in reliance on Mr. Guo’s promise.

                90.      Eastern has little to no assets and is undercapitalized, and is unable to

pay the amounts owed under the Agreement.

                91.      Strategic Vision would not have entered into the Agreement but for

Mr. Guo’s promise that he would adequately fund Eastern. Accordingly, Strategic Vision

has been harmed by its reasonable and foreseeable reliance on Mr. Guo’s promise, which he

has failed to fulfill.

                92.      Mr. Guo is liable for the damages sustained by Strategic Vision as the

result of its detrimental reliance on his promise in connection with the Agreement.

                93.      Strategic Vision is entitled to judgment against Mr. Guo in the amount

of $838,709.75, plus interest at the State of New York’s statutory rate for the period March

21, 2018 through the date that judgment is filed.

                                  THIRD COUNTERCLAIM
                                (Tortious Interference--Mr. Guo)

                94.      Strategic Vision repeats and realleges paragraphs 1 through 93 above.

                95.      Mr. Guo had knowledge of the Agreement, as principal of Eastern and

its primary point of contact.

                96.      Mr. Guo intentionally engaged in a pattern of irrational conduct with

respect to the Agreement, including providing conflicting instructions to Strategic Vision

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and attempting communications that were inaccessible. Mr. Guo’s conduct hindered

Strategic Vision’s ability to continue performing under the Agreement.

                 97.   Mr. Guo intentionally interfered with the Agreement by his irrational

conduct and expectations that were inconsistent with the terms of the Agreement, and by

his insistence that Strategic Vision conduct its research in a manner that would violate U.S.

Law.

                 98.   Strategic Vision has been damaged by Mr. Guo’s conduct, in an

amount to be determined at trial.

                 WHEREFORE, the Defendant demands judgment (i) dismissing plaintiff’s

complaint; (ii) granting the relief request in the counterclaims; and (iii) granting such other

and further relief as to the Court deems just, equitable and proper.

Dated: September 17, 2018                        PHILLIPS LYTLE LLP
       Buffalo, New York
                                                 By /s/ David J. McNamara________
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                                                         Heather H. Kidera
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